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                            UNITED ST ATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA                      2015 APP 29 o·· 3: 34
                                 ORLAl'H)O DIVISION
                                                                             M1~ .., - -
STEPIJEN JENKINS,                                                                      0RLMi   . • I-

       Plaintiff,

               v.                                    CASE NO . 6:16-cv-740-Orl-28-GJK

C ITIBANK, N.J\.,

       Defendant.


                                  PLAINTIFF'S C OMPLAI NT

       COMES NOW Plaintiff, STEPHEN JENKlNS ("P laintifP'), by and through his

attorneys, and fo r his Complaint against Defendant, ClTfBJ\NK, N .A. ("Defendant"), alleges

and afCirmativcly states as follows:

                                        INTRODUCTION

        I.     Plaintiff s Complaint is based on lhc Telephone Consumer Protection Act

("'TCP/\"), t\ 7 U.S.C. § 227, et seq., and the Florida Consumer Collection Practices Act

("FCCPA"), Fla. Stat.§ 559.55 et seq.

                                 JlJRISDICTION AND VENUE

       2.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 133 1, 28

U.S.C. § 1367, and 47 U.S.C. § 227.

       3.      Venue is proper pursuant to 28 U .S.C. § 139 1(b)(2) as the acts giving rise to

Plaintifr s cause of action occurred in this district as Plaintiff resides in this district and as

Defendant transacts business in this district.

                                             PARTIES

        4.     Pla intiff is a natural person who at times relevant resided in Maitland, Florida.
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       5.        Plaintiff is a consumer as that term is defined by Fla. Stat. § 559.55(2) and owed

a debt as that term is defined by Fla. Stat.§ 559.55(1).

       6.        Defendant is a business entity with a business office located in Sioux Falls, South

Dakota.

        7.       Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                   FACTUAL ALLEGATIONS

        8.       Plaintiff acquired a credit card from Defendant which was used for personal,

family, and household purposes.

       9.        Defendant placed calls to telephone number                      , which is Plaintiffs

cellular telephone.

          I 0.   Upon information and good faith belief, and in light of the frequency, number,

nature, and character of these calls, Defendant placed them by using an automatic telephone

dialing system.

          l l.   The purpose of these calls was to collect funds from Plaintiff for purchases arising

from the use of the credit card.

          12.     On January 12, 2016 at approximately 11:23 AM, Plaintiff spoke with one of

Defendant's representatives and instructed Defendant to stop calling his cell phone number.

          13.     Plaintiff revoked any consent, actual or implied, for Defendant to use an

automatic telephone dialing system to call his cell phone.

          14.     Defendant continued to use an automatic telephone dialing system to call

Plaintiffs cell phone.




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         15.     Since January 12, 2016, Defendant called Plaintiffs cell phone at least seventy-

two (72) times.

         16.     During this time period Defendant called Plaintiffs cell phone as many as seven

(7) times in a single day.

         17.     Plaintiff is annoyed and feels harassed by Defendant's calls.

         18.     Defendant placed these calls voluntarily.

         19.     Defendant placed these calls under its own free will.

         20.     Defendant had knowledge that it was using an automatic telephone dialing system

to place these calls.

         21.     Defendant intended to use an automatic telephone dialing system to place these

calls.

                                     COUNT I
                        TELEPHONE CONSUMER PROTECTION ACT

         22.      Defendant's actions alleged supra constitute numerous negligent violations of the

TCPA, entitling Plaintiff to an award of $500.00 in statutory damages for each and every

violation pursuant to 47 U.S.C. § 227(b)(3)(B).

         23.     Defendant's actions alleged supra constitute numerous and multiple knowing

and/or willful violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory

damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

227(h)(3)(C).

         WHEREFORE, Plaintiff respectfully requests judgment be entered against Defendant for

the following:

         24.      Statutory damages of $500.00 for each and every negligent violation of the

TCPA pursuant to 47 U.S.C. § (b)(3)(B);



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            25.      Statutory damages of $1500.00 for each and every knowing and/or willful

    violation of the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C);

            26.      All court costs, witness fees and other fees incurred; and

            27.      Any other relief that this Honorable Court deems appropriate.

                                     COUNT II
                     FLORIDA CONSUMER COLLECTION PRACTICES ACT

            28.      Plaintiff re-alleges and incorporates the foregoing paragraphs herein.

            29.      Defendant violated the FCCPA based on the following:

                     a)        Defendant violated § 559.72(7) of the FCCPA by engaging in conduct

                               which can reasonably be expected to abuse or harass Plaintiff.

            WHEREFORE, Plaintiff respectfully requests judgment be entered against Defendant for

    the following:

            30.      Statutory damages pursuant to the Florida Consumer Collection Practices Act,

    Fla. Stat. § 559. 77(2),

            31.      Costs and reasonable attorneys' fees pursuant to the Florida Consumer Collection

    Practices Act, Fla. Stat. § 559. 77(2),

            32.      Any other relief that this Honorable Court deems appropriate.


                                                             RESPECTFULLY SUBMITTED,

                                                       By: /s/ Stephan R Caplan

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